Case 3:20-cv-05784-BRM-DEA Document 25 Filed 07/17/20 Page 1 of 2 PageID: 738




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Holdings, Inc. and GAIN Capital Group, LLC


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


OANDA CORPORATION,                    )
                                      ) Civil Action No. 20-05784-BRM-DEA
          Plaintiff,                  )
                                      ) CORPORATE DISCLOSURE
     v.                               ) STATEMENT PURSUANT
                                      ) TO FEDERAL RULE OF
GAIN CAPITAL HOLDINGS, INC., and GAIN ) CIVIL PROCEDURE 7.1
CAPITAL GROUP, LLC,                   )
                                      )
          Defendants.                 ) Document Filed Electronically
                                      )
                                      )
                                      )


              Pursuant to Federal Rule of Civil Procedure 7.1, Defendants GAIN Capital

Holdings, Inc. and GAIN Capital Group, LLC (“Defendants”) make the following disclosures:

              1.   Defendants are non-governmental corporate parties.

              2.   GAIN Capital Holdings, Inc. is the ultimate parent of GAIN Capital Group,

LLC. There is currently an executed Agreement and Plan of Merger whereby INTL FCStone

Inc. will become the ultimate parent of both entities, but the merger has not yet been

completed. INTL FCStone Inc. has changed its name to StoneX Group Inc.


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Case 3:20-cv-05784-BRM-DEA Document 25 Filed 07/17/20 Page 2 of 2 PageID: 739




                3.   No publicly held corporation owns 10% or more of GAIN Capital Holdings,

Inc.’s stock.

Dated: July 17, 2020                        Respectfully submitted,



                                            s/ Arnold B. Calmann
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